        Case 4:05-cr-00109-BSM Document 692 Filed 12/09/09 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                               NO. 4:05CR00109-10 JLH

CALVIN BROWN                                                                    DEFENDANT


                                          ORDER

      The hearing on the pending Motion to Revoke Supervised Release previously set for Friday,

December 18, 2009, is hereby rescheduled to begin on THURSDAY, DECEMBER 17, 2009, at

10:30 a.m., in Courtroom #4-D, Richard Sheppard Arnold United States Courthouse, 500 West

Capitol Avenue, Little Rock, Arkansas, to show cause why the supervised release previously

imposed should not be revoked. Document #689.

      IT IS SO ORDERED this 9th day of December, 2009.




                                                  _________________________________
                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
